Case 22-18303-JKS          Doc 138      Filed 08/09/23 Entered 08/09/23 17:08:54                Desc Main
                                       Document      Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

 NORGAARD O'BOYLE & HANNON
 184 Grand Avenue
 Englewood, NJ 07631
 (201) 871-1333
 Attorneys for Debtor-in-Possession
 By: John O'Boyle (JO     6337)
     joboyle@norgaardfirm.com



                                                                   Case No.:          22-18303
                                                                                   _______________
 In Re:
                                                                   Adv. Pro. No.: _______________

                                                                   Chapter:              11
                                                                                   _______________
     Alexandre Dacosta & Vivianne Antunes
                                                                   Subchapter V:      Yes  No

                                                                                    8/29/2023
                                                                   Hearing Date: _______________

                                                                   Judge:             Sherwood
                                                                                   _______________

                                       ADJOURNMENT REQUEST

1.                    John O'Boyle, Esq.
          I, ___________________________________,
                                      Debtors, Alexandre Dacosta & Vivianne Antunes
           am the attorney for: ______________________________________________________,
           am self-represented,

          and request an adjournment of the following hearing for the reason set forth below.
                  Status Conference & Confirmation Hearing for Joint Plan of Reorganization.
          Matter: ________________________________________________________________________
                                         August 29, 2023 at 10 AM
          Current hearing date and time: ____________________________
                              September 12, 2023
          New date requested: ____________________________________
                                          Debtor seeks additional time to address objections to
          Reason for adjournment request: ___________________________________________________
          confirmation, and parties request postponement to accomodate summer schedules.
          ______________________________________________________________________________

2.        Consent to adjournment:

           I have the consent of all parties.  I do not have the consent of all parties (explain below):
          ______________________________________________________________________________

          ______________________________________________________________________________
Case 22-18303-JKS          Doc 138      Filed 08/09/23 Entered 08/09/23 17:08:54          Desc Main
                                       Document      Page 2 of 2


I certify under penalty of perjury that the foregoing is true.


       August 9, 2023
Date: ___________________________                           /s/ John O'Boyle
                                                            _______________________________
                                                            Signature




COURT USE ONLY:

The request for adjournment is:

 Granted                                            September 12, 2023 @ 10
                                  New hearing date: ________________________           Peremptory
 Granted over objection(s)       New hearing date: ________________________           Peremptory
 Denied


          IMPORTANT: If your request is granted, you must notify interested parties
          who are not electronic filers of the new hearing date.




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